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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

STEWART ABRAMSON, on behalf of                   :   Case No. 1:19-cv-1819
himself and others similarly situated,           :
                                                 :
       Plaintiff,                                :
                                                 :
v.                                               :   JURY DEMANDED
                                                 :
                                                 :
CHICAGO INSURANCE AGENCY, INC.                   :
d/b/a CONNECTED LEADS, THE                       :
PROSSEN AGENCY, LLC, and                         :
THE ALLSTATE CORPORATION,                        :
                                                 :
       Defendants.                               :
                                             /

                               CLASS ACTION COMPLAINT

                                     Preliminary Statement

       1.      Plaintiff Stewart Abramson (“Mr. Abramson”) (“Plaintiff”) brings this action to

enforce the consumer-privacy provisions of the Telephone Consumer Protection Act, 47 U.S.C.

§ 227 (“TCPA”), a federal statute enacted in 1991 in response to widespread public outrage

about the proliferation of intrusive, nuisance telemarketing practices. See Mims v. Arrow Fin.

Servs., LLC, 132 S. Ct. 740, 745 (2012).

       2.      The Allstate Corporation (“Allstate”) offers its services through a series of captive

insurance agents, such as the Defendant The Prossen Agency, LLC (“Prossen Agency”). Prossen

Agency hired Chicago Insurance Agency, Inc. d/b/a Connected Leads (“Connected Leads”), who

made a telemarketing call to a cellular telephone number of Mr. Abramson for the purposes of

advertising Allstate goods and services using an automated dialing system, which is prohibited

by the TCPA.
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         3.    The Plaintiff never consented to receive the call, which was placed to him for

telemarketing purposes. Because telemarketing campaigns generally place calls to thousands or

even millions of potential customers en masse, the Plaintiff brings this action on behalf of a

proposed nationwide class of other persons who received illegal telemarketing calls from or on

behalf of the Defendants.

         4.    A class action is the best means of obtaining redress for the Defendants’ wide

scale illegal telemarketing and is consistent both with the private right of action afforded by the

TCPA and the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

                                               Parties

         5.    Plaintiff Stewart Abramson is a resident of Pennsylvania.

         6.    Defendant The Allstate Corporation is a corporate entity registered in Illinois with

a registered agent of CT Corporation System at 208 S. Lasalle St., Suite 814, Chicago, Illinois

60604. It regularly conducts business in this district, as it attempted to do with the Plaintiff.

         7.    Defendant The Prossen Agency, LLC is a corporate entity registered to do

business in Pennsylvania with a registered address of 300 Wilmington Road, New Castle,

Pennsylvania 16105.

         8.    Defendant Chicago Insurance Agency, Inc. is a corporate entity registered in

Illinois with a registered agent of Greg Sheppard, 1410 West Belmont Avenue, Chicago, Illinois

60657.

                                       Jurisdiction & Venue

         9.    The Court has federal question subject matter jurisdiction over these TCPA

claims. Mims, 132 S. Ct. 740.




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       10.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of

the events or omissions giving rise to the claim occurred in this district.

                           The Telephone Consumer Protection Act

       11.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing …

can be an intrusive invasion of privacy [.]” Telephone Consumer Protection Act of 1991, Pub. L.

No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

The TCPA Prohibits Automated Telemarketing Calls

       12.     The TCPA makes it unlawful “to make any call (other than a call made for

emergency purposes or made with the prior express consent of the called party) using an

automatic telephone dialing system or an artificial or prerecorded voice … to any telephone

number assigned to a … cellular telephone service.” See 47 U.S.C. § 227(b)(1)(A)(iii). The

TCPA provides a private cause of action to persons who receive calls in violation of 47 U.S.C.

§ 227(b)(1)(A). See 47 U.S.C. § 227(b)(3).

       13.     According to findings by the Federal Communication Commission (“FCC”), the

agency Congress vested with authority to issue regulations implementing the TCPA, such calls

are prohibited because, as Congress found, automated or prerecorded telephone calls are a

greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly

and inconvenient.

       14.     The FCC also recognized that “wireless customers are charged for incoming calls

whether they pay in advance or after the minutes are used.” In re Rules and Regulations

Implementing the Tel. Consumer Prot. Act of 1991, CG Docket No. 02-278, Report and Order,

18 FCC Rcd. 14014, 14115 ¶ 165 (2003).




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        15.     In 2013, the FCC required prior express written consent for all autodialed or

prerecorded telemarketing calls (“robocalls”) to wireless numbers and residential lines.

Specifically, it ordered that:

        [A] consumer’s written consent to receive telemarketing robocalls must be signed
        and be sufficient to show that the consumer: (1) received “clear and conspicuous
        disclosure” of the consequences of providing the requested consent, i.e., that the
        consumer will receive future calls that deliver prerecorded messages by or on
        behalf of a specific seller; and (2) having received this information, agrees
        unambiguously to receive such calls at a telephone number the consumer
        designates.[] In addition, the written agreement must be obtained “without
        requiring, directly or indirectly, that the agreement be executed as a condition of
        purchasing any good or service.[]”

In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 FCC

Rcd. 1830, 1844 (2012) (footnotes omitted).

                                       Factual Allegations

        16.     Allstate provides various insurance services to its customers.

        17.     To generate business through sales, Allstate relies on exclusive agents and

understands that those agents engage in telemarketing directly and through third parties.

        18.     One of Allstate’s strategies for telemarketing involves the use of an automatic

telephone dialing system (“ATDS”) to solicit business by third parties.

        19.     Allstate engages in use of this equipment because it allows for thousands of

automated calls to be placed at one time, but its telemarketing representatives, who are paid by

the hour, only talk to individuals who pick up the telephone.

        20.     Through this method, Allstate shifts the burden of wasted time to the consumers it

calls with unsolicited messages.




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Calls to Mr. Abramson

       21.    Plaintiff is, and was at all times mentioned herein, a “person” as defined by

47 U.S.C. § 153(39).

       22.    Mr. Abramson’s telephone number, (412) 362-XXXX, is assigned to a cellular

telephone service.

       23.    Mr. Abramson received a call from Connected Leads on December 13, 2018.

       24.    When the call was answered, there was a lengthy pause and a click before anyone

came on the line, which indicated to the Plaintiff that the call was made using an ATDS.

       25.    When the Plaintiff finally connected with a live individual, he was informed that

he was speaking to “Barry” who was “calling from Allstate Insurance” and quoting him on home

and auto insurance.

       26.    Mr. Abramson was then transferred to the Prossen Agency and spoke to a “Liz

Gatto,” who informed Mr. Abramson that she was with Allstate.

       27.    Ms. Gatto then attempted to sell the Plaintiff Allstate services.

       28.    Mr. Abramson asked Ms. Gatto where they got his name, and she informed him

that they got the lead in their system from “Connected Leads,” which she said could be reached

at 866-391-1100.

       29.    The call was not necessitated by an emergency.

       30.    Plaintiff’s privacy has been violated by the above-described telemarketing

robocalls from, or on behalf of, Defendants. The calls were an annoying, harassing nuisance.

       31.    Plaintiff and all members of the Class, defined below, have been harmed by the

acts of Defendants because their privacy has been violated, they were annoyed and harassed,




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and, in some instances, they were charged for incoming calls. The calls occupied his cellular

telephone lines, rendering them unavailable for legitimate communication.

                                            Allstate’s Liability

        32.     For more than twenty years, the FCC has explained that its “rules generally

establish that the party on whose behalf a solicitation is made bears ultimate responsibility for

any violations.” In re Rules & Regulations Implementing the TCPA, CC Docket No. 92-90,

Memorandum Opinion and Order, 10 FCC Rcd. 12391, 12397, ¶ 13 (1995).

        33.      On May 9, 2013, the FCC released a Declaratory Ruling holding that a

corporation or other entity that contracts out its telephone marketing “may be held vicariously

liable under federal common law principles of agency for violations of either section 227(b) or

section 227(c) that are committed by third-party telemarketers.”1

        34.     In that ruling, the FCC instructed that sellers such as Allstate may not avoid

liability by outsourcing telemarketing:

        [A]llowing the seller to avoid potential liability by outsourcing its telemarketing
        activities to unsupervised third parties would leave consumers in many cases
        without an effective remedy for telemarketing intrusions. This would particularly
        be so if the telemarketers were judgment proof, unidentifiable, or located outside
        the United States, as is often the case. Even where third-party telemarketers are
        identifiable, solvent, and amenable to judgment limiting liability to the
        telemarketer that physically places the call would make enforcement in many
        cases substantially more expensive and less efficient, since consumers (or law
        enforcement agencies) would be required to sue each marketer separately in order
        to obtain effective relief. As the FTC noted, because “[s]ellers may have
        thousands of ‘independent’ marketers, suing one or a few of them is unlikely to
        make a substantive difference for consumer privacy.”

May 2013 FCC Ruling, 28 FCC Rcd. at 6588, ¶ 37 (internal citations omitted).




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 In re Joint Petition Filed by DISH Network, LLC et al. for Declaratory Ruling Concerning the TCPA Rules, 28
FCC Rcd. 6574, 6574, ¶ 1 (2013) (“May 2013 FCC Ruling”).




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       35.     The May 2013 FCC Ruling held that, even absent evidence of a formal

contractual relationship between the seller and the telemarketer, a seller is liable for

telemarketing calls if the telemarketer “has apparent (if not actual) authority” to make the calls.

28 FCC Rcd. at 6586, ¶ 34.

       36.     The May 2013 FCC Ruling further clarifies the circumstances under which a

telemarketer has apparent authority:

       [A]pparent authority may be supported by evidence that the seller allows the
       outside sales entity access to information and systems that normally would be
       within the seller’s exclusive control, including: access to detailed information
       regarding the nature and pricing of the seller’s products and services or to the
       seller’s customer information. The ability by the outside sales entity to enter
       consumer information into the seller’s sales or customer systems, as well as the
       authority to use the seller’s trade name, trademark and service mark may also be
       relevant. It may also be persuasive that the seller approved, wrote or reviewed the
       outside entity’s telemarketing scripts. Finally, a seller would be responsible under
       the TCPA for the unauthorized conduct of a third-party telemarketer that is
       otherwise authorized to market on the seller’s behalf if the seller knew (or
       reasonably should have known) that the telemarketer was violating the TCPA on
       the seller’s behalf and the seller failed to take effective steps within its power to
       force the telemarketer to cease that conduct.

28 FCC Rcd. at 6592, ¶ 46.

       37.     By permitting their agents to hire telemarketing companies such as Connected

Leads, Allstate “manifest[ed] assent to another person … that the agent shall act on the

principal’s behalf and subject to the principal’s control” as described in the Restatement (Third)

of Agency.

       38.     Moreover, Allstate maintained interim control over Connected Leads and Prossen

Agency’s conduct.

       39.     For example, Allstate had absolute control over whether, and under what

circumstances, it would accept a customer.




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       40.     Furthermore, Allstate had day-to-day control over Connected Leads and the

Prossen Agency’s conduct, including the ability to prohibit it from using an ATDS to contact

potential customers of Allstate.

       41.     Additionally, Allstate restricted the geographic location that Connected Leads and

the Prossen Agency could promote Allstate as it directed where its agents could generate leads.

       42.     Allstate also gave interim instructions to Connected Leads and the Prossen

Agency by providing the volume of calling and leads it would purchase.

       43.     Connected Leads transferred customer information directly to Allstate through its

agent Prossen Agency. Thus, the company that Allstate hired has the “ability … to enter

consumer information into the seller’s sales or customer systems,” as discussed in the May 2013

FCC Ruling. As such, the companies are an apparent agent of Allstate.

       44.     Allstate had also previously been sued for the actions of third party telemarketers

it hired, and as such was on notice that third parties, such as Connected Leads, were violating the

TCPA on Allstate’s behalf.

       45.     Finally, the May 2013 FCC Ruling states that called parties may obtain “evidence

of these kinds of relationships … through discovery, if they are not independently privy to such

information.” Id. at 6592-593, ¶ 46. Evidence of circumstances pointing to apparent authority

on behalf of the telemarketer “should be sufficient to place upon the seller the burden of

demonstrating that a reasonable consumer would not sensibly assume that the telemarketer was

acting as the seller’s authorized agent.” Id. at 6593, ¶ 46.




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                                      Class Action Allegations

       46.       As authorized by Rule 23 of the Federal Rules of Civil Procedure, Plaintiff brings

this action on behalf of a class of all other persons or entities similarly situated throughout the

United States.

       47.       The Class of persons Plaintiff proposes to represent are tentatively defined as:

       CLASS 1

       All persons within the United States to whom: (a) Connected Leads and/or a third
       party acting on its behalf made one or more non-emergency telephone calls; (b)
       promoting Allstate products or services; (c) to their cellular telephone number; (d)
       using an automatic telephone dialing system or an artificial or prerecorded voice;
       and (e) at any time in the period that begins four years before the date of the filing
       of this Complaint to trial.

Excluded from the Class are the Defendants, and any entities in which the Defendants have a

controlling interest, the Defendants’ agents and employees, any judge to whom this action is

assigned, and any member of such judge’s staff and immediate family.

       48.       The Class as defined above is identifiable through phone records and phone

number databases.

       49.       The potential Class members number at least in the thousands, since automated

telemarketing campaigns make calls to hundreds or thousands of individuals a day. Individual

joinder of these persons is impracticable.

       50.       Plaintiff is a member of the proposed Class.

       51.       There are questions of law and fact common to Plaintiff and to the proposed

Class, including but not limited to the following:

                 a.     Whether Defendants violated the TCPA by using automated telemarketing

to call cellular telephones;




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                 b.     Whether Defendants placed calls using an automatic telephone dialing

system;

                 c.     Whether Allstate is vicariously liable for the conduct of Connected Leads;

                 d.     Whether Defendants placed calls without obtaining the recipients’ prior

consent for the call;

                 e.     Whether the Plaintiff and the Class members are entitled to statutory

damages because of Defendants’ actions.

       52.       Plaintiff’s claims are typical of the claims of Class members. Plaintiff’s claims,

like the claims of the Class, arise out of the same common course of conduct by the Defendants

and are based on the same legal and remedial theories.

       53.       Plaintiff is an adequate representative of the Class because his interests do not

conflict with the interests of the Class, he will fairly and adequately protect the interests of the

Class, and he is represented by counsel skilled and experienced in class actions, including TCPA

class actions.

       54.       Common questions of law and fact predominate over questions affecting only

individual Class members. The only individual question concerns identification of Class

members, which will be ascertainable from records maintained by Defendants and/or its agents.

       55.       Management of these claims is likely to present significantly fewer difficulties

than are presented in many class claims because the calls at issue are all automated. Class

treatment is superior to multiple individual suits or piecemeal litigation because it conserves

judicial resources, promotes consistency and efficiency of adjudication, provides a forum for

small claimants, and deters illegal activities. There will be no significant difficulty in the

management of this case as a class action.




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        56.     The likelihood that individual members of the Class will prosecute separate

actions is remote due to the time and expense necessary to prosecute an individual case.

        57.     Plaintiff is not aware of any litigation concerning this controversy already

commenced by others who meet the criteria for class membership described above.

                                         Causes of Action

                                         Count One:
                     Violation of the TCPA’s Automated Calling provisions

        58.     Plaintiff Abramson incorporates the allegations from all previous paragraphs as if

fully set forth herein.

        59.     The foregoing acts and omissions of the Defendants constitute violations of the

TCPA, 47 U.S.C. § 227, by making calls, except for emergency purposes, to the cellular

telephone numbers of Plaintiff and members of the Class using an ATDS and/or artificial or

prerecorded voice.

        60.     As a result of the Defendants’ violations of the TCPA, 47 U.S.C. § 227, Plaintiff

and members of the Class presumptively are entitled to an award of $500 in damages for each

and every call made to their cellular telephone numbers using an ATDS and/or artificial or

prerecorded voice in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3)(B). The Court

may award up to $1,500 if the violation was found to be “knowing or willful.” Id.

        61.     Plaintiff and members of the Class are also entitled to and do seek injunctive

relief prohibiting Defendants from violating the TCPA, 47 U.S.C. § 227, by making calls, except

for emergency purposes, to any cellular telephone numbers using an ATDS and/or artificial or

prerecorded voice in the future.




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                                         Relief Sought

       For himself and all Class members, Plaintiff requests the following relief:

       A.     Certification of the proposed Class;

       B.     Appointment of Plaintiff as representative of the Class;

       C.     Appointment of the undersigned counsel as counsel for the Class;

       D.     A declaration that Defendants’ actions complained of herein violate the TCPA;

       E.     An order enjoining Defendants from making automated or pre-recorded calls;

       F.     An award to Plaintiff and the Class of damages, as allowed by law;

       G.     Leave to amend this Complaint to conform to the evidence presented at trial; and

       H.     Orders granting such other and further relief as the Court deems necessary, just,

and proper.

       Plaintiff requests a jury trial as to all claims of the complaint so triable.


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